91
     AO 243 (Rev. 09/17)

                              MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                              SENTENCE BY A PERSON IN FEDERAL CUSTODY

     United States District Court                                        District
     Name (under which you were convicted):                                                                   Docket or Case No.:
        '                                                                                                      S_ 121 LK o D 9-5 ~b -oL) t
     Place of Confinement:                                                                    Prisoner No.:
                                                                                                  L11-S09
     UNITED STATES OF AMERICA                                                            MOVant (include name underwhich convicted)
                                                                    V.
                                                                          LADS TYRL i (F- Ly mom

                                                                      MOTION
                                                                                                                             RECEIVER
            1.   (a) Name and location of court which entered the judgment of conviction you are challenging:
                                                                                                                                 MAY 2 9 2024
                 M IMI C, 01%1R't LL D f TE n n C_ S S LL                                                                     U.S. District Court
                   l iii RIZ6 A 0 V AV W A:S\')V111 L i _T KI I l                                                            Middle District of TN
                  (b) Criminal docket or case number (if you know):

            2.    (a) Date of the judgment of conviction (if you know):             '704 L—     S i k 'LO )~3
                  (b) Date of sentencing:       OWL- S l h "L o -B
            3.    Length of sentence:

            4.    Nature of crime (all counts):

                            I b'.                 9 ,LZ LM



            5.    (a) What was your plea? (Check one)
                       (1) Not guilty ®                           (2) Guilty                       (3) Nolo contendere (no contest) EI

            6.    (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
                  what did you plead guilty to and what did you plead not guilty to?




                                                    FV / f `r '

            6.    If you went to trial, what kind of trial did you have? (Check one)                     Jury o            Judge only F]

            7.    Did you testify at a pretrial hearing, trial, or post-trial hearing?           Yes o                     NoEl


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    8.    Did you appeal from the judgment of conviction?            Yes                   No
                                                                                                rVI

    7     If you did appeal, answer the following:
          (a) Name of court:
          (b) Docket or case number (if you know):
          (c) Result:
          (d) Date of result (if you know):
          (e) Citation to the case (if you know):
          (fl Grounds raised:




          (g) Did you file a petition for certiorari in the United States Supreme Court?        Yes   El          • El
                If "Yes," answer the following:
                (1) Docket or case number (if you know):
                (2) Result:


                (3) Date of result (if you know): _
                (4) Citation to the case (if you know):
                (5) Grounds raised:




   10.    Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
          concerning this judgment of conviction in any court?
           Yes           No FVI

   11     If your answer to Question 10 was "Yes," give the following information:
          (a) (1) Name of court:
               (2) Docket or case number (if you know):
               (3) Date of filing (if you know):




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              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) . Did you receive a hearing where evidence was given on your motion, petition, or application?
                      Yes ®          No El
              (7) Result:
              (8) Date of result (if you know):
         (b) If you filed any second motion, petition, or application, give the same information:
              (1) Name of court:
              (2) Docket of case number (if you know):
              (3) Date of filing (if you know):
              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                      Yes   0        NoEJ
              (7) Result:                         A/
              (8) Date of result (if you know):
         (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
         or application?
              (1) First petition:         Yes L1         No F]
              (2) Second petition:        Yes FJ         No F]
         (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:




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  12.    For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
         laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
         supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE:             t   Lc_6 h

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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         (b) Direct Appeal of Ground One:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                      Yes ®           No D
              (2) If you did not raise this issue in your direct appeal, explain why:



         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                      Yes F1          No
              (2) If you answer to Question (c)(1) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):



              (3) Did you receive a hearing on your motion, petition, or application?
                      Yes 0           No

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              (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes F]         No El
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       Yes F1         No F]


              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




 GROUND TWO:            IMLER-dik/L 6s515LAWCc= bt LouKiSL.L

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




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         (b) Direct Appeal of Ground Two:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                       Yes F1         No   n

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              (2) If you did not raise this issue in your direct appeal, explain why:


                                        11
         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       Yes 0          No El
              (2) If you answer to Question (c)(1) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                       Yes©           No 0
              (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes            No F—]
              (5) If your.answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       Yes ®          No F
              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




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GROUND THREE:


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground Three:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                       Yes   L1        No
              (2) If you did not raise this issue in your direct appeal, explain why:




         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       Yes   0   . No
              (2) If you answer to Question (c)(1) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
               Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion, petition, or application?
                       Yes   F]        No   1-1
               (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes   FJ        No   F1
               (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       Yes   FJ        No   F1
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              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the atioeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of.the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




GROUND FOUR:                       Af /   6_
         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground Four:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                       Yes   F]           No
              (2) If you did not raise this issue in your direct appeal, explain why:



         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       Yes   F-1          No   F]
              (2) If you answer to Question (c)(1) is "Yes," state:


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              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                        Yes F]         No
              (4) Did you appeal from the denial of your motion, petition, or application?
                        Yes El         No 11
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                        Yes ®          No o
              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
               Date of the court's decision:
               Result (attach a copy of the court's opinion or order, if available):




               (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
               issue:




  13.     Is there any ground in this motion that you have not previously presented in some federal court? If so, which
          ground or grounds have not been presented, and state your reasons for not presenting them:

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 14.     Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
         you are challenging?       Yes F]           No rul
         If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the
         issues raised.




 15.     Give the name and address, if known, of each attorney who represented you in the following stages of the
         judgment you are challenging:
         (a) At the preliminary hearing:
                                 j
                      ~.~tivi        1J III Javx,
         (b) At the arraignment and plea:


         (c) At the trial:


         (d) At sentencing:


        (e) On appeal:


        (f) In any post-conviction


        (g) On appeal from any ruling against you in a post-conviction proceeding:




 16.    Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
        and at the same time?         Yes F]          No

 17.    Do you have any future sentence to serve after you complete the sentence for the judgment that you are
        challenging?            Yes F- -1        No N
        (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




        (b) Give the date the other sentence was imposed:
        (c) Give the length of the other sentence:
        (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
        sentence to be served in the future?          Yes EI           No

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 18.     TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
         why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

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     * The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2255,
     paragraph 6, provides in part that:
        A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
        from the latest of—
            (1) the date on which the judgment of conviction became final;
            (2) the date on which the impediment to making a motion created by governmental action in violation of
            the Constitution or laws of the United States is removed, if the movant was prevented from making such a
            motion by such governmental action;
            (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
            been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
            review; or
            (4) the date on which the facts supporting the claim or claims presented could have been discovered
            through the exercise of due diligence.


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- Therefore. movant asks that the Court P-rant the following relief-



  or any other relief to which movant may be entitled.




                                                                         Signature of Attorney (if any)




  I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
  under 28 U.S.C. § 2255 was placed in the prison mailing system on
                                                                                            (month, date, year)




  Executed (signed) on        ( CL '   Q'                   _            (date)



                                                                               U          J4
                                                                         Signature of Movan


  If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.




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